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        IN THE CIRCUIT COURT OF THE 17TH
        JUDICIAL CIRCUIT IN AND FOR
        BROWARD COUNTY, FLORIDA

        CASE NO.: CACE-20-013096

        CIVIL DIVISION: (04)

        DENTAL FIX RX, LLC, a
        Florida limited liability company,

               Plaintiff,
        v.

        SMILE 17, LLC, a New York limited
        Liability company, MICHAEL COTICCHIO,
        an individual, and HOLDEN COHEN, an
        individual,

              Defendants.
        ________________________________________/

                             NOTICE OF APPEARANCE AND DESIGNATION
                            OF EMAIL ADDRESS FOR JOSHUA L. ZIPPER, ESQ.

               JOSHUA L. ZIPPER of the law firm of SHAPIRO, BLASI, WASSERMAN &

        HERMANN, P.A., hereby serves notice of his appearance as additional counsel for Defendants,

        SMILE 17, LLC, a New York limited liability company, and MICHAEL COTICCHIO

        (“Defendants”), and requests the Clerk of Court enter same and further requests that copies of all

        future pleadings, notices, correspondence and other papers and filings in the cause be directed to

        the undersigned attorney.

               In accordance with Florida Rule of Judicial Administration 2.516(b)(1)(A), JOSHUA L.

        ZIPPER, as counsel for Defendants, hereby designates the following e-mail addresses for

        service:

        Primary E-Mail Address:              Joshua L. Zipper, Esq. – jzipper@sbwh.law

        Secondary E-Mail Address:            Kristy Garcia - kgarcia@sbwh.law



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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via the

  e-portal and in compliance with Fla. R. Jud. Admin. 2.516, on this 8th day of September, 2020, to:

  Robert M. Einhorn, Esq., Michael D. Braunstein, ZARCO EINHORN SALKOWSKI & BRITO,

  P.A., 2 Biscayne Boulevard, Suite 340, Miami, FL 33131; reinhorn@zarcolaw.com;

  eservice@zracolaw.com; mbraunstein@zarcolaw.com; apiriou@zarcolaw.com.

                                       SHAPIRO, BLASI, WASSERMAN & HERMANN, P.A.
                                       Attorneys for Defendants, Smile 17, LLC
                                       and Michael Coticchio
                                       7777 Glades Road, Suite 400
                                       Boca Raton, FL 33434
                                       Telephone:     (561) 477-7800
                                       Facsimile:     (561) 477-7722

                                       By: /s/ Robert E. Sacks
                                           ROBERT E. SACKS, ESQ.
                                           Florida Bar No. 388970
                                           Primary E-mail: rsacks@sbwh.law
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                                           Primary E-mail: rfrank@sbwh.law
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                                           Secondary E-Mail: kgarcia@sbwh.law




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        IN THE CIRCUIT COURT OF THE 17TH
        JUDICIAL CIRCUIT IN AND FOR
        BROWARD COUNTY, FLORIDA

        CASE NO.: CACE-20-013096

        CIVIL DIVISION: (04)

        DENTAL FIX RX, LLC, a
        Florida limited liability company,

               Plaintiff,
        v.

        SMILE 17, LLC, a New York limited
        Liability company, MICHAEL COTICCHIO,
        an individual, and HOLDEN COHEN, an
        individual,

              Defendants.
        ________________________________________/

                          NOTICE OF APPEARANCE AND DESIGNATION
                      OF EMAIL ADDRESS FOR MATTHEW A. MARGOLIS, ESQ.

               MATTHEW A. MARGOLIS of the law firm of SHAPIRO, BLASI, WASSERMAN &

        HERMANN, P.A., hereby serves notice of his appearance as additional counsel for Defendants,

        SMILE 17, LLC, a New York limited liability company, and MICHAEL COTICCHIO

        (“Defendants”), and requests the Clerk of Court enter same and further requests that copies of all

        future pleadings, notices, correspondence and other papers and filings in the cause be directed to

        the undersigned attorney.

               In accordance with Florida Rule of Judicial Administration 2.516(b)(1)(A), MATTHEW

        A. MARGOLIS, as counsel for Defendants, hereby designates the following e-mail addresses for

        service:

        Primary E-Mail Address:              Matthew A. Margolis, Esq. – mmargolis@sbwh.law

        Secondary E-Mail Address:            Kristy Garcia – kgarcia@sbwh.law



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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via the

  e-portal and in compliance with Fla. R. Jud. Admin. 2.516, on this 8th day of September, 2020, to:

  Robert M. Einhorn, Esq., Michael D. Braunstein, ZARCO EINHORN SALKOWSKI & BRITO,

  P.A., 2 Biscayne Boulevard, Suite 340, Miami, FL 33131; reinhorn@zarcolaw.com;

  eservice@zracolaw.com; mbraunstein@zarcolaw.com; apiriou@zarcolaw.com.

                                       SHAPIRO, BLASI, WASSERMAN & HERMANN, P.A.
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                                       and Michael Coticchio
                                       7777 Glades Road, Suite 400
                                       Boca Raton, FL 33434
                                       Telephone:     (561) 477-7800
                                       Facsimile:     (561) 477-7722

                                       By: /s/ Robert E. Sacks
                                           ROBERT E. SACKS, ESQ.
                                           Florida Bar No. 388970
                                           Primary E-mail: rsacks@sbwh.law
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                                           JOSHUA L. ZIPPER, ESQ.
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        IN THE CIRCUIT COURT OF THE 17TH
        JUDICIAL CIRCUIT IN AND FOR
        BROWARD COUNTY, FLORIDA

        CASE NO.: CACE-20-013096

        CIVIL DIVISION: (04)

        DENTAL FIX RX, LLC, a
        Florida limited liability company,

               Plaintiff,
        v.

        SMILE 17, LLC, a New York limited
        Liability company, MICHAEL COTICCHIO,
        an individual, and HOLDEN COHEN, an
        individual,

              Defendants.
        ________________________________________/

                             NOTICE OF APPEARANCE AND DESIGNATION
                            OF EMAIL ADDRESS FOR ROBERT E. SACKS, ESQ.

               ROBERT E. SACKS of the law firm of SHAPIRO, BLASI, WASSERMAN &

        HERMANN, P.A., hereby serves notice of his appearance as counsel for Defendants, SMILE 17,

        LLC, a New York limited liability company, and MICHAEL COTICCHIO, an individual

        (“Defendants”), and requests the Clerk of Court enter same and further requests that copies of all

        future pleadings, notices, correspondence and other papers and filings in the cause be directed to

        the undersigned attorney.

               In accordance with Florida Rule of Judicial Administration 2.516(b)(1)(A), ROBERT E.

        SACKS, as counsel for Defendants, hereby designates the following e-mail addresses for service:

        Primary E-Mail Address:              Robert E. Sacks, Esq. – rsacks@sbwh.law

        Secondary E-Mail Address:            Stephanie Fiero – sfiero@sbwh.law




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                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via the

  e-portal and in compliance with Fla. R. Jud. Admin. 2.516, on this 8th day of September, 2020, to:

  Robert M. Einhorn, Esq., Michael D. Braunstein, ZARCO EINHORN SALKOWSKI & BRITO,

  P.A., 2 Biscayne Boulevard, Suite 340, Miami, FL 33131; reinhorn@zarcolaw.com;

  eservice@zracolaw.com; mbraunstein@zarcolaw.com; apiriou@zarcolaw.com.

                                       SHAPIRO, BLASI, WASSERMAN & HERMANN, P.A.
                                       Attorneys for Defendants, Smile 17, LLC
                                       and Michael Coticchio
                                       7777 Glades Road, Suite 400
                                       Boca Raton, FL 33434
                                       Telephone:     (561) 477-7800
                                       Facsimile:     (561) 477-7722

                                       By: /s/ Robert E. Sacks
                                           ROBERT E. SACKS, ESQ.
                                           Florida Bar No. 388970
                                           Primary E-mail: rsacks@sbwh.law
                                           Secondary E-mail: sfiero@sbwh.law
                                           ROBIN I. FRANK, ESQ.
                                           Florida Bar No: 649619
                                           Primary E-mail: rfrank@sbwh.law
                                           Second E-mail: rmorales@sbwh.law
                                           JOSHUA L. ZIPPER, ESQ.
                                           Florida Bar No: 0045247
                                           Primary E-Mail: jzipper@sbwh.law
                                           Secondary E-Mail: kgarcia@sbwh.law
                                           MATTHEW A. MARGOLIS, ESQ.
                                           Florida Bar No: 1002501
                                           Primary E-mail: mmargolis@sbwh.law
                                           Secondary E-Mail: kgarcia@sbwh.law




                                             Page 2 of 2
Filing Case 0:20-cv-62098-RAR Document 1-1 Entered on FLSD Docket 10/14/2020 Page 156 of
       # 113031727  E-Filed 09/08/2020 05:27:14 169
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        IN THE CIRCUIT COURT OF THE 17TH
        JUDICIAL CIRCUIT IN AND FOR
        BROWARD COUNTY, FLORIDA

        CASE NO.: CACE-20-013096

        CIVIL DIVISION: (04)

        DENTAL FIX RX, LLC, a
        Florida limited liability company,

               Plaintiff,
        v.

        SMILE 17, LLC, a New York limited
        Liability company, MICHAEL COTICCHIO,
        an individual, and HOLDEN COHEN, an
        individual,

              Defendants.
        ________________________________________/

                             NOTICE OF APPEARANCE AND DESIGNATION
                            OF EMAIL ADDRESS FOR ROBIN I. FRANK, ESQ.

               ROBIN I. FRANK of the law firm of SHAPIRO, BLASI, WASSERMAN &

        HERMANN, P.A., hereby serves notice of her appearance as additional counsel for Defendants,

        SMILE 17, LLC, a New York limited liability company, and MICHAEL COTICCHIO

        (“Defendants”), and requests the Clerk of Court enter same and further requests that copies of all

        future pleadings, notices, correspondence and other papers and filings in the cause be directed to

        the undersigned attorney.

               In accordance with Florida Rule of Judicial Administration 2.516(b)(1)(A), ROBIN I.

        FRANK, as counsel for Defendants, hereby designates the following e-mail addresses for

        service:

        Primary E-Mail Address:              Robin I. Frank, Esq. – rfrank@sbwh.law

        Secondary E-Mail Address:            Rachel Morales – rmorales@sbwh.law



                                                   Page 1 of 2
Case 0:20-cv-62098-RAR Document 1-1 Entered on FLSD Docket 10/14/2020 Page 157 of
                                     169



                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via the

  e-portal and in compliance with Fla. R. Jud. Admin. 2.516, on this 8th day of September, 2020, to:

  Robert M. Einhorn, Esq., Michael D. Braunstein, ZARCO EINHORN SALKOWSKI & BRITO,

  P.A., 2 Biscayne Boulevard, Suite 340, Miami, FL 33131; reinhorn@zarcolaw.com;

  eservice@zracolaw.com; mbraunstein@zarcolaw.com; apiriou@zarcolaw.com.

                                       SHAPIRO, BLASI, WASSERMAN & HERMANN, P.A.
                                       Attorneys for Defendants, Smile 17, LLC
                                       and Michael Coticchio
                                       7777 Glades Road, Suite 400
                                       Boca Raton, FL 33434
                                       Telephone:     (561) 477-7800
                                       Facsimile:     (561) 477-7722

                                       By: /s/ Robert E. Sacks
                                           ROBERT E. SACKS, ESQ.
                                           Florida Bar No. 388970
                                           Primary E-mail: rsacks@sbwh.law
                                           Secondary E-mail: sfiero@sbwh.law
                                           ROBIN I. FRANK, ESQ.
                                           Florida Bar No: 649619
                                           Primary E-mail: rfrank@sbwh.law
                                           Second E-mail: rmorales@sbwh.law
                                           JOSHUA L. ZIPPER, ESQ.
                                           Florida Bar No: 0045247
                                           Primary E-Mail: jzipper@sbwh.law
                                           Secondary E-Mail: kgarcia@sbwh.law
                                           MATTHEW A. MARGOLIS, ESQ.
                                           Florida Bar No: 1002501
                                           Primary E-mail: mmargolis@sbwh.law
                                           Secondary E-Mail: kgarcia@sbwh.law




                                             Page 2 of 2
Filing Case 0:20-cv-62098-RAR Document 1-1 Entered on FLSD Docket 10/14/2020 Page 158 of
       # 113032212  E-Filed 09/08/2020 05:33:36 169
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        IN THE CIRCUIT COURT OF THE 17TH
        JUDICIAL CIRCUIT IN AND FOR
        BROWARD COUNTY, FLORIDA

        CASE NO.: CACE-20-013096

        CIVIL DIVISION: (04)

        DENTAL FIX RX, LLC, a
        Florida limited liability company,

               Plaintiff,

        v.

        SMILE 17, LLC, a New York limited
        liability company, MICHAEL
        COTICCHIO, an individual, and
        HOLDEN COHEN, an individual,

              Defendants.
        ______________________________/

              DEFENDANTS, SMILE 17, LLC AND MICHAEL COTICCHIO’S, MOTION FOR
             ENLARGEMENT OF TIME TO RESPOND PLAINTIFF, DENTAL FIX RX, LLC’S,
                                         COMPLAINT

               Defendants, Smile 17, LLC (“Smile”) and Michael Coticchio (“Coticchio”) (collectively

        herein as “Defendants”), by and through undersigned counsel and pursuant to Fla. R. Civ. P. 1.090,

        hereby move this Court for entry of an Order enlarging the time within which they have to respond to

        Plaintiff, Dental Fix RX, LLC’s (“Plaintiff”) Complaint, and in support thereof state as follows:

               1.      This matter was filed on August 11, 2020.

               2.      On or about August 22, 2020, Plaintiff served Defendants with the summons and

        Complaint.

               3.      Counsel for Defendants was recently retained and requires additional time to evaluate

        the claims asserted against Defendants and prepare a response thereto.

               4.      As such and pursuant to Florida Rule of Civil Procedure 1.090, Defendants respectfully

        request an enlargement of thirty (30) days within to respond to respond to Plaintiff’s Complaint.


                                                     Page 1 of 2
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                                     169



          5.      This motion has been brought in good faith and is not being filed for purposes of delay.

          WHEREFORE, Defendants, Smile 17, LLC and Michael Coticchio, hereby respectfully

  request this Court for entry of an Order enlarging the time within which they have to respond to the

  Plaintiff’s Complaint, and for such other and further relief as this Court deems just and proper.

                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via the

  e-portal and in compliance with Fla. R. Jud. Admin. 2.516, on this 8th day of September, 2020, to:

  Robert M. Einhorn, Esq., Michael D. Braunstein, ZARCO EINHORN SALKOWSKI & BRITO, P.A.,

  2   Biscayne     Boulevard,     Suite    340,    Miami,     FL     33131;     reinhorn@zarcolaw.com;

  eservice@zracolaw.com; mbraunstein@zarcolaw.com; apiriou@zarcolaw.com.

                                          SHAPIRO, BLASI, WASSERMAN & HERMANN, P.A.
                                          Attorneys for Defendants, Smile 17, LLC
                                          and Michael Coticchio
                                          7777 Glades Road, Suite 400
                                          Boca Raton, FL 33434
                                          Telephone:     (561) 477-7800
                                          Facsimile:     (561) 477-7722

                                          By: /s/ Robert E. Sacks
                                              ROBERT E. SACKS, ESQ.
                                              Florida Bar No. 388970
                                              Primary E-mail: rsacks@sbwh.law
                                              Secondary E-mail: sfiero@sbwh.law
                                              ROBIN I. FRANK, ESQ.
                                              Florida Bar No: 649619
                                              Primary E-mail: rfrank@sbwh.law
                                              Second E-mail: rmorales@sbwh.law
                                              JOSHUA L. ZIPPER, ESQ.
                                              Florida Bar No: 0045247
                                              Primary E-Mail: jzipper@sbwh.law
                                              Secondary E-Mail: kgarcia@sbwh.law
                                              MATTHEW A. MARGOLIS, ESQ.
                                              Florida Bar No: 1002501
                                              Primary E-mail: mmargolis@sbwh.law
                                              Secondary E-Mail: kgarcia@sbwh.law




                                                Page 2 of 2
Filing Case 0:20-cv-62098-RAR Document 1-1 Entered on FLSD Docket 10/14/2020 Page 160 of
       # 113437978  E-Filed 09/16/2020 10:02:49 169
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        IN THE CIRCUIT COURT OF THE 17TH
        JUDICIAL CIRCUIT IN AND FOR
        BROWARD COUNTY, FLORIDA

        CASE NO.: CACE-20-013096

        CIVIL DIVISION: (04)

        DENTAL FIX RX, LLC, a
        Florida limited liability company,

               Plaintiff,
        v.

        SMILE 17, LLC, a New York limited
        Liability company, MICHAEL COTICCHIO,
        an individual, and HOLDEN COHEN, an
        individual,

              Defendants.
        ________________________________________/

                             NOTICE OF APPEARANCE AND DESIGNATION
                            OF EMAIL ADDRESS FOR JOSHUA L. ZIPPER, ESQ.

               JOSHUA L. ZIPPER of the law firm of SHAPIRO, BLASI, WASSERMAN &

        HERMANN, P.A., hereby serves notice of his appearance as additional counsel for Defendant,

        HOLDEN COHEN, an individual (“hereinafter “Cohen” or “Defendant”), and requests the Clerk

        of Court enter same and further requests that copies of all future pleadings, notices,

        correspondence and other papers and filings in the cause be directed to the undersigned attorney.

               In accordance with Florida Rule of Judicial Administration 2.516(b)(1)(A), JOSHUA L.

        ZIPPER, as counsel for Defendant, hereby designates the following e-mail addresses for service:

        Primary E-Mail Address:              Joshua L. Zipper, Esq. – jzipper@sbwh.law

        Secondary E-Mail Address:            Kristy Garcia - kgarcia@sbwh.law




                                                   Page 1 of 2
Case 0:20-cv-62098-RAR Document 1-1 Entered on FLSD Docket 10/14/2020 Page 161 of
                                     169



                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via the

  e-portal and in compliance with Fla. R. Jud. Admin. 2.516, on this 15th day of September, 2020,

  to: Robert M. Einhorn, Esq., Michael D. Braunstein, ZARCO EINHORN SALKOWSKI &

  BRITO, P.A., 2 Biscayne Boulevard, Suite 340, Miami, FL 33131; reinhorn@zarcolaw.com;

  eservice@zracolaw.com; mbraunstein@zarcolaw.com; apiriou@zarcolaw.com.

                                      SHAPIRO, BLASI, WASSERMAN & HERMANN, P.A.
                                      Attorneys for Defendants, Smile 17, LLC
                                      and Michael Coticchio
                                      7777 Glades Road, Suite 400
                                      Boca Raton, FL 33434
                                      Telephone:     (561) 477-7800
                                      Facsimile:     (561) 477-7722

                                      By: /s/ Robert E. Sacks
                                          ROBERT E. SACKS, ESQ.
                                          Florida Bar No. 388970
                                          Primary E-mail: rsacks@sbwh.law
                                          Secondary E-mail: sfiero@sbwh.law
                                          ROBIN I. FRANK, ESQ.
                                          Florida Bar No: 649619
                                          Primary E-mail: rfrank@sbwh.law
                                          Second E-mail: rmorales@sbwh.law
                                          JOSHUA L. ZIPPER, ESQ.
                                          Florida Bar No: 0045247
                                          Primary E-Mail: jzipper@sbwh.law
                                          Secondary E-Mail: kgarcia@sbwh.law
                                          MATTHEW A. MARGOLIS, ESQ.
                                          Florida Bar No: 1002501
                                          Primary E-mail: mmargolis@sbwh.law
                                          Secondary E-Mail: kgarcia@sbwh.law




                                            Page 2 of 2
Filing Case 0:20-cv-62098-RAR Document 1-1 Entered on FLSD Docket 10/14/2020 Page 162 of
       # 113437978  E-Filed 09/16/2020 10:02:49 169
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        IN THE CIRCUIT COURT OF THE 17TH
        JUDICIAL CIRCUIT IN AND FOR
        BROWARD COUNTY, FLORIDA

        CASE NO.: CACE-20-013096

        CIVIL DIVISION: (04)

        DENTAL FIX RX, LLC, a
        Florida limited liability company,

               Plaintiff,
        v.

        SMILE 17, LLC, a New York limited
        Liability company, MICHAEL COTICCHIO,
        an individual, and HOLDEN COHEN, an
        individual,

              Defendants.
        ________________________________________/

                             NOTICE OF APPEARANCE AND DESIGNATION
                            OF EMAIL ADDRESS FOR ROBERT E. SACKS, ESQ.

               ROBERT E. SACKS of the law firm of SHAPIRO, BLASI, WASSERMAN &

        HERMANN, P.A., hereby serves notice of his appearance as counsel for Defendant, HOLDEN

        COHEN, an individual (“hereinafter “Cohen” or “Defendant”) and requests the Clerk of Court

        enter same and further requests that copies of all future pleadings, notices, correspondence and

        other papers and filings in the cause be directed to the undersigned attorney.

               In accordance with Florida Rule of Judicial Administration 2.516(b)(1)(A), ROBERT E.

        SACKS, as counsel for Defendant, hereby designates the following e-mail addresses for service:

        Primary E-Mail Address:                 Robert E. Sacks, Esq. – rsacks@sbwh.law

        Secondary E-Mail Address:               Stephanie Fiero – sfiero@sbwh.law

                                             CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via the

        e-portal and in compliance with Fla. R. Jud. Admin. 2.516, on this 15th day of September, 2020,
                                                     Page 1 of 2
Case 0:20-cv-62098-RAR Document 1-1 Entered on FLSD Docket 10/14/2020 Page 163 of
                                     169



  to: Robert M. Einhorn, Esq., Michael D. Braunstein, ZARCO EINHORN SALKOWSKI &

  BRITO, P.A., 2 Biscayne Boulevard, Suite 340, Miami, FL 33131; reinhorn@zarcolaw.com;

  eservice@zracolaw.com; mbraunstein@zarcolaw.com; apiriou@zarcolaw.com.

                                  SHAPIRO, BLASI, WASSERMAN & HERMANN, P.A.
                                  Attorneys for Defendants, Smile 17, LLC
                                  and Michael Coticchio
                                  7777 Glades Road, Suite 400
                                  Boca Raton, FL 33434
                                  Telephone:     (561) 477-7800
                                  Facsimile:     (561) 477-7722

                                  By: /s/ Robert E. Sacks
                                      ROBERT E. SACKS, ESQ.
                                      Florida Bar No. 388970
                                      Primary E-mail: rsacks@sbwh.law
                                      Secondary E-mail: sfiero@sbwh.law
                                      ROBIN I. FRANK, ESQ.
                                      Florida Bar No: 649619
                                      Primary E-mail: rfrank@sbwh.law
                                      Second E-mail: rmorales@sbwh.law
                                      JOSHUA L. ZIPPER, ESQ.
                                      Florida Bar No: 0045247
                                      Primary E-Mail: jzipper@sbwh.law
                                      Secondary E-Mail: kgarcia@sbwh.law
                                      MATTHEW A. MARGOLIS, ESQ.
                                      Florida Bar No: 1002501
                                      Primary E-mail: mmargolis@sbwh.law
                                      Secondary E-Mail: kgarcia@sbwh.law




                                       Page 2 of 2
Filing Case 0:20-cv-62098-RAR Document 1-1 Entered on FLSD Docket 10/14/2020 Page 164 of
       # 113437978  E-Filed 09/16/2020 10:02:49 169
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        IN THE CIRCUIT COURT OF THE 17TH
        JUDICIAL CIRCUIT IN AND FOR
        BROWARD COUNTY, FLORIDA

        CASE NO.: CACE-20-013096

        CIVIL DIVISION: (04)

        DENTAL FIX RX, LLC, a
        Florida limited liability company,

               Plaintiff,
        v.

        SMILE 17, LLC, a New York limited
        Liability company, MICHAEL COTICCHIO,
        an individual, and HOLDEN COHEN, an
        individual,

              Defendants.
        ________________________________________/

                             NOTICE OF APPEARANCE AND DESIGNATION
                            OF EMAIL ADDRESS FOR ROBIN I. FRANK, ESQ.

               ROBIN I. FRANK of the law firm of SHAPIRO, BLASI, WASSERMAN &

        HERMANN, P.A., hereby serves notice of her appearance as additional counsel for Defendant,

        HOLDEN COHEN, an individual (“hereinafter “Cohen” or “Defendant”), and requests the Clerk

        of Court enter same and further requests that copies of all future pleadings, notices,

        correspondence and other papers and filings in the cause be directed to the undersigned attorney.

               In accordance with Florida Rule of Judicial Administration 2.516(b)(1)(A), ROBIN I.

        FRANK, as counsel for Defendant, hereby designates the following e-mail addresses for service:

        Primary E-Mail Address:                 Robin I. Frank, Esq. – rfrank@sbwh.law

        Secondary E-Mail Address:               Rachel Morales – rmorales@sbwh.law

                                             CERTIFICATE OF SERVICE

               I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via the

        e-portal and in compliance with Fla. R. Jud. Admin. 2.516, on this 15th day of September, 2020,
                                                     Page 1 of 2
Case 0:20-cv-62098-RAR Document 1-1 Entered on FLSD Docket 10/14/2020 Page 165 of
                                     169



  to: Robert M. Einhorn, Esq., Michael D. Braunstein, ZARCO EINHORN SALKOWSKI &

  BRITO, P.A., 2 Biscayne Boulevard, Suite 340, Miami, FL 33131; reinhorn@zarcolaw.com;

  eservice@zracolaw.com; mbraunstein@zarcolaw.com; apiriou@zarcolaw.com.

                                  SHAPIRO, BLASI, WASSERMAN & HERMANN, P.A.
                                  Attorneys for Defendants, Smile 17, LLC
                                  and Michael Coticchio
                                  7777 Glades Road, Suite 400
                                  Boca Raton, FL 33434
                                  Telephone:     (561) 477-7800
                                  Facsimile:     (561) 477-7722

                                  By: /s/ Robert E. Sacks
                                      ROBERT E. SACKS, ESQ.
                                      Florida Bar No. 388970
                                      Primary E-mail: rsacks@sbwh.law
                                      Secondary E-mail: sfiero@sbwh.law
                                      ROBIN I. FRANK, ESQ.
                                      Florida Bar No: 649619
                                      Primary E-mail: rfrank@sbwh.law
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                                      JOSHUA L. ZIPPER, ESQ.
                                      Florida Bar No: 0045247
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                                      Secondary E-Mail: kgarcia@sbwh.law
                                      MATTHEW A. MARGOLIS, ESQ.
                                      Florida Bar No: 1002501
                                      Primary E-mail: mmargolis@sbwh.law
                                      Secondary E-Mail: kgarcia@sbwh.law




                                       Page 2 of 2
Filing Case 0:20-cv-62098-RAR Document 1-1 Entered on FLSD Docket 10/14/2020 Page 166 of
       # 113437978  E-Filed 09/16/2020 10:02:49 169
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        IN THE CIRCUIT COURT OF THE 17TH
        JUDICIAL CIRCUIT IN AND FOR
        BROWARD COUNTY, FLORIDA

        CASE NO.: CACE-20-013096

        CIVIL DIVISION: (04)

        DENTAL FIX RX, LLC, a
        Florida limited liability company,

               Plaintiff,
        v.

        SMILE 17, LLC, a New York limited
        Liability company, MICHAEL COTICCHIO,
        an individual, and HOLDEN COHEN, an
        individual,

              Defendants.
        ________________________________________/

                          NOTICE OF APPEARANCE AND DESIGNATION
                      OF EMAIL ADDRESS FOR MATTHEW A. MARGOLIS, ESQ.

               MATTHEW A. MARGOLIS of the law firm of SHAPIRO, BLASI, WASSERMAN &

        HERMANN, P.A., hereby serves notice of his appearance as additional counsel for Defendant,

        HOLDEN COHEN, an individual (“hereinafter “Cohen” or “Defendant”), and requests the Clerk

        of Court enter same and further requests that copies of all future pleadings, notices,

        correspondence and other papers and filings in the cause be directed to the undersigned attorney.

               In accordance with Florida Rule of Judicial Administration 2.516(b)(1)(A), MATTHEW

        A. MARGOLIS, as counsel for Defendant, hereby designates the following e-mail addresses for

        service:

        Primary E-Mail Address:              Matthew A. Margolis, Esq. – mmargolis@sbwh.law

        Secondary E-Mail Address:            Kristy Garcia – kgarcia@sbwh.law




                                                   Page 1 of 2
Case 0:20-cv-62098-RAR Document 1-1 Entered on FLSD Docket 10/14/2020 Page 167 of
                                     169



                                  CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished via the

  e-portal and in compliance with Fla. R. Jud. Admin. 2.516, on this 15th day of September, 2020,

  to: Robert M. Einhorn, Esq., Michael D. Braunstein, ZARCO EINHORN SALKOWSKI &

  BRITO, P.A., 2 Biscayne Boulevard, Suite 340, Miami, FL 33131; reinhorn@zarcolaw.com;

  eservice@zracolaw.com; mbraunstein@zarcolaw.com; apiriou@zarcolaw.com.

                                      SHAPIRO, BLASI, WASSERMAN & HERMANN, P.A.
                                      Attorneys for Defendants, Smile 17, LLC
                                      and Michael Coticchio
                                      7777 Glades Road, Suite 400
                                      Boca Raton, FL 33434
                                      Telephone:     (561) 477-7800
                                      Facsimile:     (561) 477-7722

                                      By: /s/ Robert E. Sacks
                                          ROBERT E. SACKS, ESQ.
                                          Florida Bar No. 388970
                                          Primary E-mail: rsacks@sbwh.law
                                          Secondary E-mail: sfiero@sbwh.law
                                          ROBIN I. FRANK, ESQ.
                                          Florida Bar No: 649619
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                                          Secondary E-Mail: kgarcia@sbwh.law




                                            Page 2 of 2
Filing Case 0:20-cv-62098-RAR Document 1-1 Entered on FLSD Docket 10/14/2020 Page 168 of
       # 113589927  E-Filed 09/18/2020 12:12:33 169
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                         IN THE CIRCUIT COURT OF THE 17TH JUDICIAL CIRCUIT
                               IN AND FOR BROWARD COUNTY, FLORIDA

           CASE NO. CACE20013096      DIVISION 04    JUDGE Sandra Perlman

      Dental Fix Rx LLC
      Plaintiff(s) / Petitioner(s)
      v.
      Smile 17 LLC, et al
      Defendant(s) / Respondent(s)
      ____________________________/

           AGREED ORDER GRANTING DEFENDANTS' MOTION FOR EXTENSION OF
                         TIME TO RESPOND TO COMPLAINT

           This cause, having come before this Court upon Defendants SMILE 17, LLC, MICHAEL

      COTICCHIO and HOLDEN COHEN’s Motion for Extension of Time to Respond to Complaint

      (the “Motion”), the Court having reviewed the file and the pleadings, having noted the

      agreement of the parties, and being fully advised in the premises, it is hereby ORDERED AND

      ADJUDGED that:


           1. The Motion is hereby GRANTED.

           2. Defendants shall have a thirty (30) day extension, through and including October 12,

             2020, to respond to the Complaint.


      DONE and ORDERED in Chambers, at Broward County, Florida on 09-18-2020.


                                                              CACE20013096 09-18-2020 8:57 AM
                                                          Hon. Sandra Perlman
                                                              CIRCUIT JUDGE
                                                           Electronically Signed by Sandra Perlman
      Copies Furnished To:
      Joshua L. Zipper Esq. , E-mail : kgarcia@sbwh.law
      Joshua L. Zipper Esq. , E-mail : jzipper@sbwh.law
Case 0:20-cv-62098-RAR Document 1-1 Entered on FLSD Docket 10/14/2020 Page 169 of
                                     169
                                                            CaseNo: CACE20013096
                                                            Page 2 of 2




Matthew A. Margolis, Esq. , E-mail : mmargolis@sbwh.law
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Michael Daniel Braunstein , E-mail : APiriou@zarcolaw.com
Michael Daniel Braunstein , E-mail : MBraunstein@zarcolaw.com
Robert E. Sacks, Esq. , E-mail : rsacks@sbwh.law
Robert E. Sacks, Esq. , E-mail : sfiero@sbwh.law
Robert Mitchell Einhorn , E-mail : vperez@zarcolaw.com
Robert Mitchell Einhorn , E-mail : reception@zarcolaw.com
Robert Mitchell Einhorn , E-mail : reinhorn@zarcolaw.com
Robin I. Frank, Esq. , E-mail : rmorales@sbwh.law
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